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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

L*V./'n* Lo'^-lrrnJd-,
Pbif.ftiff(s),

V                                                            Case No.
                                                                 (to be filled out by Clerk's Ofiice)
                     I O\iLr
Defendant(s).

                  MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS
                            PURSUANT TO 28 U.S.C. 51915

            I request leave to commence this civil action without prepayment of fees, costs,
 or security therefor pursuant to 28 U.S.C. S1915. ln support of my request, I submit
 the attached financial affidavit and state that:

            (1)    I am unable to pay such fees, costs, or give security therefor;

            (2)    I am entitled to commence this action against the defendant(s); and

            (3)    I request that the Court direct the United          Marshal's Service to
                   serve process in this matter.


                                                      OrrnTlSig re
                                                           kq,,r\L V'r /-              / u' ,h*
                                                      Name (prif{t or type)

                                                      a_                      S}
                                                      Street Address

                                                         /Uov   r^tr. LT                  66ye\
                                                      City            State             Zip Code

                                                             6+6- t-t?-Gt vt
                                                      Telephone Number




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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


         ),

V                                                         Case No
                                                              (to be filled out by Clerk's Ofiice)
                 0\^/'^-
Defendant( s).

                        FINANCIAL AFFIDAVIT IN SUPPORT OF
                 MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS
                            PURSUANT TO 28 U.S.C. 51915

t.     INSTRUCTIONS:
Complete all questions in this Affidavit and sign it. Do not leave any blanks: if the answer
to a question is "0," "none," or "not applicable' (N/A), write that response. lf you need more
space to answer a question or to explain your answer, attach a separate sheet of paper
identified with your name and the question number. Failure to follow these instructions
may result in the denial of your Motion.

il     AFFIDAVIT:

I declare that:

(1)    I am unable to pay such fees, costs, or give security therefor,
(2)    I am entitled to commence this action against the defendant(s), and
(3)    The responses I have made to the questions below relating to my ability to pay the
       cost of prosecuting this action and other matters are true.




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A.       INCOME
1. Your Employment:
lf emploved at p resent, com plete the following:
Name of employer:            A              How long employed:          V I"A
Address of employer:            r.l t/r
Gross monthly income before taxes or other deductions: $                      tA
                                                                        ^)/
lf self-emploved at present, complete the following:
State gross monthly income before taxes and deductions:
What is the nature of your employment?
lf unemployed at present, complete the following:
I have been unemployed since (DATE):                ah t)-
The name of your last employer:                 | [A.zt U "l.rz-
Address of last employer:      oS                                                            loS
Last gross monthly incom e received:             ,T. A (\ r^ +
2. Your spouse's employment (if applicable)
lf spouse is employed, please com plete the following
Name of employer:               (J   tw          How long employed              YV   A
What is the nature of spouse's empl oyme nt?
Gross monthly income before taxes or other deductions: $
3. Do you or your spouse receive government cash benefits (e.9., SAGA or AFDC)?
Yes  _  No _.  lf yes, please complete the following:
I have been receiving these benefits since                 NI
I am receiving $ rN ,A       per month for myself and the following family members:
                                                      lA
                                 ^//
4. Do you or your spouse receive social security, disability, workers'
compensation or unemployment benefits?
Yes  No V . lf yes, please complete the following:
     -
I have been receiving (TY PE)
                            t4+ rru
                                    f A    benefits since (DATE)        Nln
I am receiving $    A.) {A per month
5. Do you or your spouse receive any other income (e.9., rent payment, pensions,
annuities, life insurance, child support) of any kind?
Yes-ttloJ.lfyes, lease complete the following
I am receiving $              r month
What is the source    this income?        v"/ A
6. List all of the people who are in your household and state the amount of money
each one contributes to household expenses each month:
         b'               t h\         l.r..A wL                                         6




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B.       ASSETS OWNED BY YOU OR YOUR SPOUSE

1. Real Propertv: Do you or your spouse own any real propertv, such as land or a
house?
             I
Yes     No V . lf yes, please complete the following:
What- kind of property is it?                              rv {n
Property Address
Whose name is the property in?
Estimated value:
                                            ^)A on it?
      a. Are vou pavinq off a loan or mortqaqe
Yes _ ruo _Vlf yes, please complete the following:
Where are you obtaining the money to make the payments?
                                                        A
                                                                      Nlb
Mortgage Balance                    Owed to

2. Other orooertv owned         vou or VOUT SDOUSE:
Automobile #1: Make                 b         Modet             ,/ln       Year Ntt*
Registered owner(s) name(s):
Estimated value of automobile                           Amount Owed: ./ I n
Automobile #2: Make                ,Nl A      Model                        Year d /n
Registered owner(s) name(s):
Estimated value of automobile                           Amount Owed
Do you own any other valuable property, such as boats, motorcycles, jewelry, artwork,
antiques?
Yes    ruo V. lf yes, please complete the following:
     -
Please describe the property and provide its estimated value:




3. Gash owned by you orvour spouse:
Cash on hand: \?    7     Balance in checking or money market accounts:          il,/ il4
Balance in savinls accounts or similar accounts

4. Stocks, bonds, mutual funds or other investments owned including retirement

Total value of investments
Describe the nature of the investments:




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C.    OBLIGATIONS
1.    Estimate the average monthly expenses of you and your family:
 Rental on house/apartment                                  $        P/F
 Mortgage payment on house/apartment:                       $                   lA
 Propertv taxes on house/apartment:                         $         ^)
                                                                      ,,1) *
 Gas/heatino oil bill:                                      $             rJk
 Electric bill:                                             $             tl
 Water bill                                                 $
 Phone/cell phone bill:                                     $      'tc>
 lnternet bill:                                             $             t/ l'^
 Cable bill                                                 $
 Car pavment:                                               $
 Fuel and maintenance for car:                              $
 Car insurance pavment:                                     $
 Other types of insurance payments (such as health, life,   $
 disabilitv, propertv, renter's insurance):
 Food (do nof include food purchased with SNAP benefits)    $
 Clothinq:                                                  $
 Transportation expenses                                    $      'lo cr
 Medical expenses not covered bv insurance                  $         ,/ tA
 Alimony or child support pavments                          $             ,J {A
 Monthly payments on outstanding debts                                         tt\/ A
                Please list:                                $                    ut/ tL
                Please list:
                Please list:
                                                            $                   t/#
                                                            $
                                                                                 A) lfr
 Other necessary expenses:
            Please list                                     $                        MP
            Please list
            Please list
                                                            $
                                                                                     N#
                                                            $
                                                                                     (,J IA
 TOTAL AMOUNT OF MONTHLY OBLIGATIONS:                       $                  Ito
2.    Debts:
Do you or your spouse owe any money other than mortgage or auto loans, such as student
debt, medical debt, credit card debt? List the total amount of each debt below, and to
whom it is owed.
Debt owed to:                                                        V\J       IF
Debt owed to:                                     rrs lL             NIA
Debt owed to:                                        wrk $                     dn


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3.       Dependents/Other obligations:
List all persons who are dependent upon you and your spouse for support, state your
relationship to those persons, their age, and indicate how much you contribute toward
their support on a monthly basis:

    Name (if under 18, initials only)   Relationship     Age         Monthly Support
                                           AJ /A.                brlft
                                                          Iil IA $
            rA l l-r                      dlA             l^) h $ IAJ A
            " -f\t- lA                    t\/ lA         KJ IA $   NIp
                 h lAr                    {UiA           \H'1) $ rnj ra
4.    Provide any other information that will help explain why you cannot pay the
costs of these proceedings:
             h         /-           L- eLp*V</h

D.       PREVIOUS LITIGATION:
lf you have ever filed a case in federal court, provide the following information for each
case you have filed. All prior cases must be listed. lf you need additional space,
please continue on a separate sheet.

Case Number                    Case Caption                      Disposition of Case
1
 3 2\ olt68   6U                                    Ba. ^\<-                      S rZtn t      e       \NP
2'
   T D\<                    Laovui \-(-     \/ Voou,9' K+ nL i i^ L; r; btohio 4
                                                             U
3
                                U
                                                                            I                       J

4


E.       DECLARATION UNDER PENALTY OF PERJURY
I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge            nd belief.


Date:                  b
                                                         o       inal Sig       re of Affiant




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